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                                                                                  2023 Oct-17 AM 09:18
                                                                                  U.S. DISTRICT COURT
                                                                                      N.D. OF ALABAMA


                     UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF ALABAMA
                           EASTERN DIVISION

 ALCALIPH WOODARD,                          )
                                            )
       Plaintiff,                           )
                                            )
 v.                                         )    Case No. 1:23-cv-00600-ACA-NAD
                                            )
 JASON PAUL, TFO, et al.,                   )
                                            )
       Defendants.                          )

                           MEMORANDUM OPINION

      The magistrate judge has entered a report recommending that the court

dismiss this action for Plaintiff Alcaliph Woodard’s failure to prosecute the action.

(Doc. 9). Although the magistrate judge advised Mr. Woodard of his right to file

specific objections within fourteen days and the consequences of a failure to object

(id. at 2–3), the court has received no objections.

      Mr. Woodard’s failure to file specific objections waives any challenge to the

proposed finding and recommendation. See 28 U.S.C. § 636(b)(1); 11th Cir. R. 3-1.

The court therefore ADOPTS the magistrate judge’s report and ACCEPTS the

recommendation.      The   court   WILL         DISMISS   this   action   WITHOUT

PREJUDICE for failure to prosecute.

      The court will enter a separate final order consistent with this opinion.
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DONE and ORDERED this October 17, 2023.



                           _________________________________
                           ANNEMARIE CARNEY AXON
                           UNITED STATES DISTRICT JUDGE




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